Case 1:21-cv-00080-TWP-DML Document 1-1 Filed 01/12/21 Page 1 of 19 PageID #: 7




                Exhibit A
Case
 Case9:20-cv-80663-AMC
      1:21-cv-00080-TWP-DML
                        Document
                             Document
                                 1 Entered
                                      1-1 on
                                           Filed
                                              FLSD
                                                 01/12/21
                                                    DocketPage
                                                          04/21/2020
                                                               2 of 19 PageID
                                                                       Page 9 #:
                                                                              of 8
                                                                                 45
Case
 Case9:20-cv-80663-AMC
       1:21-cv-00080-TWP-DML
                        Document
                             Document
                                 1 Entered
                                       1-1 on
                                            Filed
                                               FLSD
                                                  01/12/21
                                                     Docket Page
                                                            04/21/2020
                                                                 3 of 19 Page
                                                                         PageID
                                                                              10#:
                                                                                 of945
Case
 Case9:20-cv-80663-AMC
      1:21-cv-00080-TWP-DML
                        Document
                             Document
                                 1 Entered
                                      1-1 on
                                           Filed
                                              FLSD
                                                 01/12/21
                                                    DocketPage
                                                          04/21/2020
                                                               4 of 19 PageID
                                                                       Page 11#:of10
                                                                                   45
Case
 Case9:20-cv-80663-AMC
      1:21-cv-00080-TWP-DML
                        Document
                             Document
                                 1 Entered
                                      1-1 on
                                           Filed
                                              FLSD
                                                 01/12/21
                                                    DocketPage
                                                          04/21/2020
                                                               5 of 19 PageID
                                                                       Page 12#:of11
                                                                                   45
Case
 Case9:20-cv-80663-AMC
      1:21-cv-00080-TWP-DML
                        Document
                             Document
                                 1 Entered
                                      1-1 on
                                           Filed
                                              FLSD
                                                 01/12/21
                                                    DocketPage
                                                          04/21/2020
                                                               6 of 19 PageID
                                                                       Page 13#:of12
                                                                                   45
Case
 Case9:20-cv-80663-AMC
      1:21-cv-00080-TWP-DML
                        Document
                             Document
                                 1 Entered
                                      1-1 on
                                           Filed
                                              FLSD
                                                 01/12/21
                                                    DocketPage
                                                          04/21/2020
                                                               7 of 19 PageID
                                                                       Page 14#:of13
                                                                                   45
Case
 Case9:20-cv-80663-AMC
      1:21-cv-00080-TWP-DML
                        Document
                             Document
                                 1 Entered
                                      1-1 on
                                           Filed
                                              FLSD
                                                 01/12/21
                                                    DocketPage
                                                          04/21/2020
                                                               8 of 19 PageID
                                                                       Page 15#:of14
                                                                                   45
Case
 Case9:20-cv-80663-AMC
      1:21-cv-00080-TWP-DML
                        Document
                             Document
                                 1 Entered
                                      1-1 on
                                           Filed
                                              FLSD
                                                 01/12/21
                                                    DocketPage
                                                          04/21/2020
                                                               9 of 19 PageID
                                                                       Page 16#:of15
                                                                                   45
Case
Case9:20-cv-80663-AMC
     1:21-cv-00080-TWP-DML
                       Document
                           Document
                                1 Entered
                                     1-1 Filed
                                          on FLSD
                                               01/12/21
                                                   DocketPage
                                                          04/21/2020
                                                              10 of 19 Page
                                                                       PageID
                                                                            17#:
                                                                               of16
                                                                                  45
Case
Case9:20-cv-80663-AMC
     1:21-cv-00080-TWP-DML
                       Document
                           Document
                                1 Entered
                                     1-1 Filed
                                          on FLSD
                                               01/12/21
                                                   DocketPage
                                                          04/21/2020
                                                              11 of 19 Page
                                                                       PageID
                                                                            18#:
                                                                               of17
                                                                                  45
Case
Case9:20-cv-80663-AMC
     1:21-cv-00080-TWP-DML
                       Document
                           Document
                                1 Entered
                                     1-1 Filed
                                          on FLSD
                                               01/12/21
                                                   DocketPage
                                                          04/21/2020
                                                              12 of 19 Page
                                                                       PageID
                                                                            19#:
                                                                               of18
                                                                                  45
Case
Case9:20-cv-80663-AMC
     1:21-cv-00080-TWP-DML
                       Document
                           Document
                                1 Entered
                                     1-1 Filed
                                          on FLSD
                                               01/12/21
                                                   DocketPage
                                                          04/21/2020
                                                              13 of 19 Page
                                                                       PageID
                                                                            20#:
                                                                               of19
                                                                                  45
Case
Case9:20-cv-80663-AMC
     1:21-cv-00080-TWP-DML
                       Document
                           Document
                                1 Entered
                                     1-1 Filed
                                          on FLSD
                                               01/12/21
                                                   DocketPage
                                                          04/21/2020
                                                              14 of 19 Page
                                                                       PageID
                                                                            21#:
                                                                               of20
                                                                                  45
Case
Case9:20-cv-80663-AMC
     1:21-cv-00080-TWP-DML
                       Document
                           Document
                                1 Entered
                                     1-1 Filed
                                          on FLSD
                                               01/12/21
                                                   DocketPage
                                                          04/21/2020
                                                              15 of 19 Page
                                                                       PageID
                                                                            22#:
                                                                               of21
                                                                                  45
Case
Case9:20-cv-80663-AMC
     1:21-cv-00080-TWP-DML
                       Document
                           Document
                                1 Entered
                                     1-1 Filed
                                          on FLSD
                                               01/12/21
                                                   DocketPage
                                                          04/21/2020
                                                              16 of 19 Page
                                                                       PageID
                                                                            23#:
                                                                               of22
                                                                                  45
Case
Case9:20-cv-80663-AMC
     1:21-cv-00080-TWP-DML
                       Document
                           Document
                                1 Entered
                                     1-1 Filed
                                          on FLSD
                                               01/12/21
                                                   DocketPage
                                                          04/21/2020
                                                              17 of 19 Page
                                                                       PageID
                                                                            24#:
                                                                               of23
                                                                                  45
Case
Case9:20-cv-80663-AMC
     1:21-cv-00080-TWP-DML
                       Document
                           Document
                                1 Entered
                                     1-1 Filed
                                          on FLSD
                                               01/12/21
                                                   DocketPage
                                                          04/21/2020
                                                              18 of 19 Page
                                                                       PageID
                                                                            25#:
                                                                               of24
                                                                                  45
Case
Case9:20-cv-80663-AMC
     1:21-cv-00080-TWP-DML
                       Document
                           Document
                                1 Entered
                                     1-1 Filed
                                          on FLSD
                                               01/12/21
                                                   DocketPage
                                                          04/21/2020
                                                              19 of 19 Page
                                                                       PageID
                                                                            26#:
                                                                               of25
                                                                                  45
